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                  EXHIBIT B
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1                       IN THE UNITED STATES DISTRICT COURT
2                        FOR THE NORTHERN DISTRICT OF OHIO
3                                 EASTERN DIVISION
4
5       MDL NO. 2804
6       CASE NO. 17-md-2804
7       Hon. Dan A. Polster
8
9       IN RE: NATIONAL PRESCRIPTION OPIATE LITIGATION
10
11      THIS DOCUMENT RELATES TO:
12      TRACK THREE CASES
13
14
15
16                           REMOTE VIDEO DEPOSITION OF
17                              CALEB ALEXANDER, M.D.
18                                   May 27, 2021
19
20
21
22      REPORTED BY:            Laura H. Nichols
23                              Certified Realtime Reporter,
24                              Registered Professional
25                              Reporter and Notary Public

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1       of these programs, your knowledge or framework for
2       any -- this report and other reports of the
3       programs that you identified, are you aware of any
4       programs, that you're recommending, that the
5       pharmacies have implemented already in Lake and
6       Trumbull County?       Are you aware of any?
7                   A.     Well, I think, as it applies to this
8       case, a major opportunity for the pharmacies is
9       with respect to the institution of measures to
10      reduce the oversupply, and unnecessary oversupply
11      of opioids in the supply chain.                And I believe that
12      there's an appendix to my report that discusses in
13      detail the public health rationale for these
14      measures.
15                         But my development of that appendix
16      did not require me to evaluate the specific actions
17      of pharmacies to date.          And I would leave it to
18      Mr. Catizone or other experts to do so.
19                  Q.     So as you sit here today, you do not
20      know -- not looking forward, but existing,
21      preexisting programs by pharmacies as to whether
22      they do anything that is outlined in your report,
23      you don't know sitting here today, correct?
24                  A.     No, that's not correct.
25                  Q.     Okay.     What programs do you know that

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1       the pharmacies run that are outlined in your
2       framework, your abatement framework?
3                   A.     Well, I reviewed the section of
4       Mr. Carmen Catizone's report that elucidated or
5       that outlined what appear to be significant missed
6       opportunities on the part of pharmacies to
7       institute safer practices to reduce the oversupply
8       of prescription opioids in the supply chain.
9                   Q.     And that was based on Mr. -- or
10      Catizone's analysis, right?
11                  A.     Correct.
12                  Q.     Have you analyzed any existing
13      programs, personally analyzed any existing programs
14      within the pharmacies?
15                  A.     I have some experience.            I have
16      published papers on pharmacy-based interventions,
17      and I have performed independent scholarship
18      looking at pharmacy-based interventions.
19                         And so I do have some experience in
20      understanding of the sorts of interventions that
21      pharmacies could potentially implement in order to
22      reduce opioid oversupply.
23                  Q.     I -- my statement was as to existing
24      programs existing in Lake and Trumbull County
25      operated by pharmacies, have you analyzed those?

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1                   A.     My abatement report didn't require me
2       to analyze and net out existing programs that may
3       be operational in Lake and Trumbull Counties.
4                   Q.     If you look at, for instance, Page 20
5       of your report.      If you look at Paragraph 57.               And
6       you're talking here about patient and public
7       education, correct?
8                   A.     Yes, that's correct.
9                   Q.     And you acknowledge, in Paragraph 57,
10      that Trumbull County has an outreach program
11      through the ASAP program, right?
12                  A.     Yes, that's correct.
13                  Q.     What information do you have on the
14      details of that outreach program?
15                         MR. ARNOLD:         Objection, form.
16                  Q.     (BY MR. MANNIX:)            I mean, other than
17      what's stated here, you state, "For example, the
18      Coalition disseminates education materials to
19      address stigma, provide tools that parents can use
20      to discuss substance use with their children, and
21      maintains a directory of treatment and recovery
22      support within Trumbull County."
23                         Do you see that?
24                  A.     Yes, I do.
25                  Q.     Other than that, do you have any

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1       additional information related to the ASAP outreach
2       program related to patient and public education?
3                   A.     Well, I would want to look at the
4       materials in my report.           I mean, I would start with
5       Reference 188.      But there are, you know, six
6       hundred plus references in my report.                And then we
7       identified another, I don't know, two hundred or
8       however many in the additional materials that I
9       consulted, but didn't use directly.
10                         So there may well be other materials
11      that provide more context for the alliance for
12      substance abuse preventions, outreach efforts
13      within the community of Trumbull County.
14                  Q.     All right.        And Citation 188 is a
15      link to the website for the TCMHRB.                Okay?
16                         As you sit here today, do you have
17      any knowledge of additional information related to
18      the ASAP program that you identify in Paragraph 57
19      of your report?
20                  A.     Well, as I sit here today, I mean, my
21      approach in answering your question would be
22      similar to any other day, which is to look
23      carefully at the totality of evidence that I have
24      available.
25                         And so, you know, to answer your

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1       question, I'd like the opportunity to look at that
2       reference, as well as other references in my report
3       that may be relevant to your question.
4                   Q.     Would you have any knowledge of the
5       amount of money that was expended by the ASAP
6       program related to the patient and public outreach
7       over the last five years?            Did you look at that
8       information?
9                   A.     Again, what I would say is that I
10      think the communities have done the best they --
11      they can with the resources that they've had and
12      what they have had.
13                         And my forward-looking abatement plan
14      was not predicated on or didn't require me to parse
15      out line by line the amount of dollars spent for
16      specific programs and services in the community.
17                  Q.     Did you attempt, in any way, to
18      analyze the effectiveness of that ASAP program in
19      seeking the goal of patient and public education?
20                  A.     Well, there's an enormous evidence
21      base to support the effectiveness, and in many
22      cases cost effectiveness, of the types of
23      interventions that I propose.
24                         So I didn't do a retrospective
25      evaluation of the impact of any specific program in

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1       the community.      But I can assure you that there is
2       not a lot of disagreement in public health and
3       public policy about the effectiveness of the types
4       of interventions that I propose in my abatement
5       plan.
6                   Q.     Is it your opinion that the existing
7       program, this ASAP program in Lake County -- or
8       excuse me, in Trumbull County, related to patient
9       and public education, was not sufficient to
10      accomplish the goals of your plan as it relates to
11      patient and public education?
12                  A.     Well, I haven't done a line-by-line
13      retrospective on the spending or resources that
14      were committed to one particular plan, or one
15      particular program or another, because that wasn't
16      required for me to develop my abatement program,
17      which is a forward-looking program to prevent
18      further harms from accruing in these communities.
19                  Q.     And I wasn't asking for spending or
20      resource retrospective.           I was talking about
21      performance or effectiveness of the program.
22                         Does your answer remain the same, or
23      did you do an analysis of the effectiveness and
24      performance of the existing program to compare to
25      what you're proposing?

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1                   A.        What I do is discuss a large number
2       of complimentary interventions, and I leave it
3       to -- that are evidence-based.                 And I leave it to
4       the communities to ultimately determine the plan,
5       the mix of services and programs.
6                             And part of that process, at a
7       community level, will be deciding what already is
8       adequately resourced within the community and what
9       isn't.
10                            So that's something that the
11      community would decide, not me.
12                            MR. MANNIX:       I think it's 12:30
13      exactly.         I think that's when we said we'd take our
14      break, so why don't we do that.                 Plan on 1:15
15      coming back?
16                  A.        That's fine.        Or 1:00, if you prefer
17      and others prefer.         Either way would be fine.
18                            MR. MANNIX:       Yeah.        Let's shoot for
19      definitely 1:15.         My experience is thirty minutes
20      is always -- it's a little longer than that.                    So
21      somewhere in that thirty or forty-five minutes.
22      But we'll do 1:15.
23                  A.        1:15 it is.       Thank you so much.
24                            THE VIDEOGRAPHER:             Off the record,
25      12:31.

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